                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                               NORTHEASTERN DIVISION

UNITED STATES OF AMERICA,         )
                                  )
          Plaintiff,              )
                                  ) No. 2:19-cv-00009
     v.                           ) JUDGE TRAUGER
                                  )
OAKLEY PHARMACY, INC., d/b/a      )
DALE HOLLOW PHARMACY;             )
CLAY COUNTY XPRESS PHARMACY, LLC; )
THOMAS WEIR; MICHAEL GRIFFITH;    )
JOHN POLSTON, and LARRY LARKIN,   )
                                  )
          Defendants.             )

                                          ORDER

       The plaintiff United States’ and Defendant Michael Griffith’s Joint Consent Motion for

Entry of a Preliminary Injunction Order against Griffith is GRANTED. It is hereby ORDERED

that the Temporary Restraining Order entered on February 7, 2019 (Docket No. 10) and extended

on February 21, 2019 (Docket No. 37) is hereby converted to a preliminary injunction, the terms

of which are hereby EXTENDED until further order of the Court. Defendant Griffith and his

counsel are hereby EXCUSED from attending the hearing on the plaintiff’s request for a

preliminary injunction, which is set for March 27, 2019.

       It is so ORDERED.

       ENTERED this 8th
                    ____ day of March, 2019.



                                                           _________________________
                                                           ALETA A. TRAUGER
                                                           United States District Judge




    Case 2:19-cv-00009 Document 51 Filed 03/08/19 Page 1 of 1 PageID #: 246
